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                             No. 21-2683


       In the United States Court of Appeals
               for the Seventh Circuit

                      JANAY E. GARRICK, ET AL.,

                                           Plaintiffs-Appellees,
                                    v.

                    MOODY BIBLE INSTITUTE, ET AL.,
                                           Defendants-Appellants.

       On Appeal from the United States District Court
               for the Northern District of Illinois
      No. 1:18-cv-00573; The Honorable John Z. Lee, Judge

   BRIEF OF AMICI CURIAE COUNCIL FOR CHRISTIAN
 COLLEGES & UNIVERSITIES, NATIONAL ASSOCIATION OF
EVANGELICALS, BIOLA UNIVERSITY, LIBERTY UNIVERSITY,
               & WHEATON COLLEGE

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            CORPORATE DISCLOSURE STATEMENT

     Under Fed. R. App. P. 26.1 and 7th Cir. R. 26.1, Amici Curiae

Council for Christian Colleges & Universities, National Association of

Evangelicals, Biola University, Liberty University, and Wheaton College

state that they are nonprofit organizations, have no parent corporations,

and do not issue stock.

Dated: August 7, 2023

                                     Respectfully submitted,

                                     /s/ Gene C. Schaerr
                                     Gene C. Schaerr
                                     Counsel for Amici Curiae
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     INTEREST OF AMICI 1 AND SUMMARY OF ARGUMENT

      This case presents a crucial question about the proper application

of the guarantee, inherent in the First Amendment’s Religion Clauses,

that religious organizations must remain free “from secular control or

manipulation.” Hosanna-Tabor Evangelical Lutheran Church & Sch. v.

EEOC, 565 U.S. 171, 186 (2012) (citation omitted). The Supreme Court

recognized in Hosanna-Tabor that religious organizations—including

religious schools such as Appellant Moody Bible Institute—are not

merely “social club[s],” but something different and due “special

solicitude.” Id. at 189. The reason is simple: “[I]t is not within the judicial

function and judicial competence to inquire” into religious questions.

Thomas v. Rev. Bd. of Ind. Emp’t Sec. Div., 450 U.S. 707, 716 (1981).

Courts are neither “arbiters of scriptural interpretation” nor trained to

divine whether a religious organization “correctly perceived the

commands of [its] … faith.” Ibid.




   1 No counsel for a party authored this brief in whole or in part, and no

person other than amici, their members, or their counsel made a
monetary contribution intended to fund the brief’s preparation or
submission. Counsel for all parties consent to the filing of this brief.
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     Recognizing those principles, this Court has applied the ministerial

exception numerous times. E.g., Demkovich v. St. Andrew the Apostle

Par., Calumet City, 3 F.4th 968, 983–84 (7th Cir. 2021) (en banc)

(collecting cases). That exception, recognized by the Supreme Court in

Hosanna-Tabor, rests on a “constitutional foundation” that is rooted in

both the Free Exercise and Establishment Clauses, namely, “the general

principle of church autonomy.” Our Lady of Guadalupe Sch. v. Morrissey-

Berru, 140 S. Ct. 2049, 2061 (2020). Thus, the ministerial exception is

merely one aspect of the broader and even more longstanding church

autonomy doctrine.

     Moreover, that doctrine of deference to religious organizations on

questions of church governance serves similar goals as its subsidiary

ministerial exception. It allows religious organizations to operate without

fear of judicial or other government interference, and it prevents the

excessive entanglement between government and religion that would

necessarily follow from discovery and trial “[b]y [their] very nature.”

Natal v. Christian Missionary All., 878 F.2d 1575, 1578 (1st Cir. 1989).

The church autonomy doctrine thus prevents the untenable outcome of




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courts’ plunging into “a maelstrom of Church policy, administration, and

governance.” Id.

     Despite its long pedigree, the church autonomy doctrine has, in

recent years, been narrowed by some misguided judicial rulings opining

that these doctrines can be appealed only after final judgment, or that

they can be decided only by the trier of fact, as a defense to liability. One

way this minority of courts has evaded the clear commands of the church

autonomy doctrine is by allowing plaintiffs to claim that a religious

organization’s proffered religious reasons are pretextual—and then to

allow discovery on the question of the alleged pretext. In ministerial

exception cases, the question of pretext is foreclosed completely.

Hosanna-Tabor, 565 U.S. at 194. And in other church autonomy cases, a

plaintiff still may not delay application of the doctrine by asserting

pretext where proceeding to discovery and trial cannot be done “without

extensive inquiry by civil courts into religious law and polity.” Serbian E.

Orthodox Diocese for U.S. of Am. & Can. v. Milivojevich, 426 U.S. 696,

709 (1976). As Appellant Moody Bible Institute explains (at 27), this is

one such case. Here, the church autonomy doctrine functions as a bar to

suit, not merely a defense to liability.


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     Because    a     contrary   conclusion      would     have    far-reaching

consequences for religious organizations, this case is deeply important to

amici Council for Christian Colleges & Universities, National Association

of Evangelicals, Biola University, Liberty University, and Wheaton

College—the latter four of which are described in more detail in the

Appendix.

     Amicus    CCCU      represents       hundreds    of   religious   colleges,

universities, and schools across the United States. Its member

institutions provide faith-infused, high-quality education based on a

religious belief that, through such efforts, their students will be better

prepared to live their faith in all aspects of life. CCCU’s member

institutions have a variety of nuanced religious views on the ordination

question that led to this case, and imposing a Title VII rule on their

internal affairs will hamper their “legitimate claim to autonomy in the

elaboration and pursuit of [their separate] goal[s].” See Rayburn v. Gen.

Conf. of Seventh-Day Adventists, 772 F.2d 1164, 1171 & n.9 (4th Cir.

1985) (quoting Douglas Laycock, Towards a General Theory of the

Religion Clauses: The Case of Church Labor Relations and the Right to

Church Autonomy, 81 Columbia L. Rev. 1373, 1399 (1981)).


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     Amicus National Association of Evangelicals is the largest network

of evangelical churches, denominations, independent ministries and

colleges in the United States. It serves 40 member denominations, as well

as numerous evangelical missions, social-service providers, colleges, and

seminaries.

     Those institutions, CCCU and NAE member schools, and the

individual religious college amici will all be hindered in their ability to

achieve their missions free from government interference if the

government can force them to undergo intrusive and expensive merits

discovery and—potentially—a trial before they can vindicate their rights

under the Religion Clauses. By that point, significant damage will

already have been done, in keeping with the Supreme Court’s recognition

that the “very process of inquiry” can often “impinge on rights guaranteed

by the Religion Clauses.” NLRB v. Cath. Bishop of Chicago, 440 U.S. 490,

502 (1979).

     Amici thus agree with Moody that the church autonomy doctrine

provides immunity from judicial interference, not merely a defense to

liability, even though Garrick claims that the offered religious reasons

for her firing were pretextual. Amici write to explain why a contrary


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conclusion that precludes interlocutory appeals before discovery would

seriously harm religious colleges and universities and, relatedly, why

this Court should reject any invitation to embrace that conclusion.

                             STATEMENT

     Moody Bible Institute is a religious college with a sincere religious

belief (which it shares with many faith traditions) that forbids women

from serving in the office of pastor. Garrick v. Moody Bible Inst., 494 F.

Supp. 3d 570, 573 (N.D. Ill. 2020). After signing a statement affirming

that she shared that belief, Appellee Janay Garrick—a teacher at

Moody—began openly advocating against it within the Moody

community. Appellant’s Br. at 5–7. Moody subsequently opted not to

renew her contract because she was “not aligned with its doctrinal

statement as it related to gender roles in ministry.” Garrick v. Moody

Bible Inst., 494 F. Supp. 3d 570, 574 (N.D. Ill. 2020) (brackets omitted).

After an initial attempt to sue Moody failed—because the district court

concluded the church autonomy doctrine blocked her claims—the district

court allowed her to amend her complaint. Despite acknowledging in her

Second Amended Complaint that her own beliefs conflict with Moody’s

beliefs, she now claims that Moody’s asserted reasons for not renewing


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her contract were pretextual and that she was actually fired “because she

is a woman who raised concerns about gender discrimination.” Id.

     Finding that her new complaint “crafted her Title VII claims to

steer clear of the religious freedoms guaranteed by the First

Amendment,” the district court allowed certain claims to proceed and

allowed discovery into “whether Moody[‘s] invocation of its religious

beliefs was, in fact, a cover to discriminate against Garrick because of her

gender.” Id. at 577.

                               ARGUMENT

I.   Even When a Party Claims That a Religious Organization’s
     Proffered Religious Reasons Are Pretextual, the Church
     Autonomy Doctrine Is a Bar to Suit, Not Just a Defense to
     Liability.

     The district court fundamentally misunderstood the church

autonomy doctrine—and as a result, misapplied it. Properly understood,

even if a plaintiff claims that a religious organization’s proffered religious

reasons for her termination were pretextual, that doctrine and the

ministerial exception subsumed within it “bars such a suit” against the

religious organization. Hosanna-Tabor Evangelical Lutheran Church &

Sch. v. EEOC, 565 U.S. 171, 196 (2012); see also Our Lady of Guadalupe,



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140 S. Ct. at 2061 (“[T]he Religion Clauses foreclose certain employment

discrimination claims brought against religious organizations.”).

     1. The clearest reason why the church autonomy doctrine does not

allow cases brought against religious employers to continue to discovery

or even trial even when pretext is asserted is that, if the doctrine did

allow that, it would be unable to avert the very harms it is designed to

prevent.

     One way the doctrine operates is by ensuring the government does

not interfere with—among other things—a religious organization’s

internal employment decisions “involving those holding certain

important positions with churches and other religious institutions,” Our

Lady of Guadalupe, 140 S. Ct. at 2060, or that would entangle courts in

the religious reasons for employment decisions concerning non-

ministerial employees. The doctrine bars such suits to protect religious

organizations’ “independence in matters of faith and doctrine and in

closely linked matters of internal government.” Id. at 2061. Quoting that

very language, this Court later explained that the “well-established”

church autonomy doctrine—together with the ministerial exception that

“follows naturally” from it—“means what it says.” Demkovich v. St.


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Andrew the Apostle Par., Calumet City, 3 F.4th 968, 975 (7th Cir. 2021)

(en banc).

     This “well-established” doctrine has also expressly protected

religious organizations for more than 150 years. As early as 1871, the

Supreme Court explained that courts cannot decide a “matter which

concerns theological controversy, church discipline, ecclesiastical

government, or the conformity of the members of the church to the

standard of morals required of them.” Watson v. Jones, 80 U.S. (13 Wall.)

679, 733 (1871). It further emphasized that the Religion Clauses forbid

courts from “decid[ing] who ought to be members of the church, []or

whether the excommunicated have been justly or unjustly, regularly or

irregularly cut off.” Id. at 730; accord Bouldin v. Alexander, 82 U.S. (15

Wall) 131, 139–40 (1872).

     Nowhere in those cases is there any suggestion that the church

autonomy doctrine’s protections kick in only when the facts are tried, that

they apply only after final judgment, or that they can be disregarded

whenever a plaintiff claims pretext. To the contrary, as the Supreme

Court has explained, looking to pretext usually “misses the point.”

Hosanna-Tabor, 565 U.S. at 194. After all, under the Court’s decisions,


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even looking into a religious organization’s internal workings can be a

First Amendment harm. NLRB v. Cath. Bishop of Chicago, 440 U.S. 490,

502 (1979). And this applies even before trial because a court’s—or by

extension, an adverse party’s—“detailed review of the evidence” of

internal church procedures and decisions is itself “impermissible” under

the First Amendment. See Serbian E. Orthodox Diocese for U.S. & Can.

v. Milivojevich, 426 U.S. 696, 718 (1976).

     In short, “[i]t is well established, in numerous other contexts, that

courts should refrain from trolling through a person’s or institution’s

religious beliefs.” Mitchell v. Helms, 530 U.S. 793, 828 (2000) (plurality

op.); accord Carson v. Makin, 142 S. Ct. 1987, 2001 (2022) (“Any attempt

to … scrutiniz[e] whether and how a religious school pursues its

educational mission would also raise serious concerns about state

entanglement with religion and denominational favoritism.”). Thus, even

when a plaintiff asserts pretext, the church autonomy doctrine bars suit

when, as here, resolution of a plaintiff’s claims would require a Court “to

impermissibly wade into ecclesiastical polity, in violation of the First

Amendment.” Cath. Diocese of Jackson v. De Lange, 341 So. 3d 887, 894–

95 (Miss. 2022).


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     2. This long and unbroken line of precedent establishes that both

the church autonomy doctrine and the ministerial exception that derives

from it function differently from most affirmative defenses. Even though

they do not serve as jurisdictional bars, Hosanna-Tabor, 565 U.S. at 195

n.4, they are “structural limitation[s] imposed on the government by the

Religion Clauses, [and] can never be waived.” Conlon v. InterVarsity

Christian Fellowship/USA, 777 F.3d 829, 836 (6th Cir. 2015); accord

Tomic v. Cath. Diocese of Peoria, 442 F.3d 1036, 1042 (7th Cir. 2006) (“A

federal court will not allow itself to get dragged into a religious

controversy even if a religious organization wants it dragged in.”),

abrogated in part by Hosanna-Tabor, 565 U.S. at 195 n.4 (rejecting claim

that the ministerial exception is jurisdictional); Whole Woman’s Health

v. Smith, 896 F.3d 362, 373–74 (5th Cir. 2018).

     Because the church autonomy doctrine and the ministerial

exception act as structural limitations, several courts have correctly

likened them to qualified immunity—and recognized that, because of the

similarity between the two, the collateral order doctrine allows

interlocutory appeals when the church autonomy doctrine or the

ministerial exception defense are denied. In McCarthy v. Fuller, for


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example, this Court explained that a court’s rejection of a church-

autonomy defense is “closely akin to a denial of official immunity”

because, if a “jury was (wrongly) allowed to rule,” then there “would be a

final judgment of a secular court resolving a religious issue” and the

“harm of such a governmental intrusion into religious affairs would be

irreparable.” 714 F.3d 971, 975, 976 (7th Cir. 2013). To prevent that

harm, this Court thus correctly held that aggrieved religious

organizations whose church-autonomy defenses had been denied could

seek interlocutory relief. Id. at 974–75.

      Other courts have likewise recognized the similarities between the

protections of the Religion Clauses and qualified immunity. In Petruska

v. Gannon University, for example, the Third Circuit found that the

ministerial exception operated like qualified immunity and concluded

that, though the “exception does not act as a jurisdictional bar,” it may

be raised—at the motion-to-dismiss stage—as a “challenge to the

sufficiency of [a plaintiff’s] claim[s]” against a religious organization. 462

F.3d 294, 302 (3d Cir. 2006); accord Heard v. Johnson, 810 A.2d 871, 877

(D.C. 2002) (“A claim of immunity from suit under the First Amendment

is just such an issue of law, and … a defendant church may appeal the


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denial of a motion to dismiss where the motion was based on First

Amendment immunity from suit.”); St. Joseph Cath. Orphan Soc’y v.

Edwards, 449 S.W.3d 727, 736 (Ky. 2014) (“[W]hen religious issues

permeate distinct cases of a traditionally-recognized type, such as

employment disputes, tort suits, or business-association conflicts,

Kentucky courts are without authority to adjudicate that specific case.”). 2

      The comparison to qualified immunity is particularly appropriate.

Just as qualified immunity recognizes “the danger that fear of being sued

will dampen the ardor of all but the most resolute, or the most

irresponsible public officials, in the unflinching discharge of their duties,”

Harlow v. Fitzgerald, 457 U.S. 800, 814 (1982) (cleaned up), the church

autonomy doctrine and its ministerial exception recognize the harm to

religious institutions if they were subject to “judicial intervention into

disputes between” religious organizations and their employees in a way

that “threatens the [organization’s] independence[.]” Our Lady of



  2 Scholars also recognize the link between qualified immunity and the

ministerial exception. See Lael Weinberger, Is Church Autonomy
Jurisdictional?, 54 Loy. U. Chi. L.J. 471, 485–505 (2022); Mark E.
Chopko & Marissa Parker, Still a Threshold Question: Refining the
Ministerial Exception Post-Hosanna-Tabor, 10 First Amend. L. Rev. 233,
293 n.355 (2012).
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Guadalupe, 140 S. Ct. at 2069. As mentioned above, in cases brought

against religious institutions, the First Amendment injury is often the

litigation itself.

      “In this sense,” as the Tenth Circuit has explained, the church

autonomy doctrine “is similar to a government official’s defense of

qualified immunity.” Bryce v. Episcopal Church in the Diocese of Colo.,

289 F.3d 648, 654 (2002). Like qualified immunity, the church autonomy

doctrine offers significant protection from unfair or malicious lawsuits.

      Indeed, if anything, the justification for providing religious

organizations immunity from suits that would interfere with their

autonomy is even stronger than the justifications the Supreme Court has

offered for qualified immunity—which applies only when the law is not

clearly established. That is because the church autonomy doctrine is

itself a clearly established constitutional mandate that protects not only

the religious organization’s interest in operating free from judicial

interference, but also the government’s structural duty to avoid religious

entanglement. See, e.g., Conlon, 777 F.3d at 836 (calling the exception a

“structural limitation”); Lee v. Sixth Mount Zion Baptist Church of

Pittsburgh, 903 F.3d 113, 118 n.4 (3d Cir. 2018) (noting that the


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ministerial exception “is rooted in constitutional limits on judicial

authority”); Alicea-Hernandez v. Cath. Bishop of Chi., 320 F.3d 698, 702

(7th Cir. 2003) (recognizing the risk that suits against religious

organizations might “contravene the First Amendment prohibition

against excessive entanglement”). 3 And, just as the benefit to public

officials “is effectively lost if a case is erroneously permitted to go to trial,”

Mitchell v. Forsyth, 472 U.S. 511, 526 (1985), the benefits provided by the

church autonomy doctrine are effectively lost if they can be asserted only

at the backend. That is why the church autonomy doctrine “prohibits civil

court review of internal church disputes,” rather than merely allowing

the defense to be raised when the facts are tried. Bryce, 289 F.3d at 655

(emphasis added).4



   3 See also Tucker v. Faith Bible Chapel Int’l, 53 F.4th 620, 625 (10th

Cir. 2022) (Bacharach, J., dissent from denial of rehearing en banc)
(recognizing that the Religion Clauses play a “structural role … in
limiting governmental power over religious matters”).
   4 See also, e.g., Belya v. Kapral, 59 F.4th 570, 578 (2d Cir. 2023 (Park,

J., dissent from denial of rehearing en banc) (“[A]fter final judgment, the
harm from judicial interference in church governance will be complete.”);
Tucker, 53 F.4th at 627 (Bacharach, J., dissent from denial of rehearing
en banc) (“The impact of this delay on religious bodies is not difficult to
imagine: The majority's approach will often require deferral of an
appellate decision while religious bodies endure discovery, pretrial
motion practice, trial practice, and even post-judgment litigation.”).
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     To prevent these harms, this Court should emphasize that the

structural limitations the Religion Clauses place on the judicial power do

not allow courts to compel discovery into pretext where the church

autonomy doctrine has been invoked.

     3. Applied here, both doctrines should have cautioned the district

court against allowing discovery into “whether [Moody’s religious beliefs]

actually prompted her firing.” Garrick v. Moody Bible Inst., 494 F. Supp.

3d 570, 577 (N.D. Ill. 2020) (Garrick II). Indeed, the district court

correctly recognized the harms that Moody faced the first time around,

when it held that litigation of claims that will “pose too much intrusion

into the religious employer's Free Exercise and Establishment Clause

rights” are governed by the “overarching principle of religious autonomy”

and “require dismissal.” Garrick v. Moody Bible Inst., 412 F. Supp. 3d

859, 871 (N.D. Ill. 2019) (Garrick I). For that reason, the district court

properly dismissed Garrick’s breach-of-contract claim with prejudice

because   reviewing    it   would     “involve   impermissible     government

interference into religious matters.” Id. at 872. But, rather than maintain

that correct course, the district court seemed to disregard its prior

concerns once Garrick filed her amended complaint by dropping the


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religious discrimination claim even as she renewed her assertion that the

religious reasons given for her termination were pretextual. Garrick II,

494 F. Supp. 3d at 576–77.

     If left uncorrected, the district court’s decision will allow plaintiffs

to postpone application of the church autonomy doctrine through months

or years of costly litigation simply by amending their complaints to claim

pretext. During that time, this error will deny religious organizations the

structural protections to which they are entitled—allowing plaintiffs to

conduct the very discovery and engage in the very inquiries into religious

tenets that those doctrines were designed to prevent.

     This Court’s decision in Sterlinski v. Catholic Bishop of Chicago,

934 F.3d 568 (7th Cir. 2019)—the case on which the district court’s

discussion of pretext turned (Garrick II, 494 F. Supp. 3d at 577–78)

(discussing Sterlinski)—is not to the contrary. There, this Court

understood that “the rule of Hosanna-Tabor” was recognized “precisely

to avoid such judicial entanglement in, and second-guessing of, religious

matters.” Sterlinski, 934 F.3d at 570. As the Sterlinski Court recognized,

there was no allegation in that case of pretext, id. at 571, and Sterlinski’s

limited discussion of pretext was therefore dicta. But, even putting that


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wrinkle aside, Sterlinski’s recognition that the Religion Clauses prevent

entanglement in religion is more than enough to prevent a wide-ranging

inquiry into specious claims of pretext. As the Sterlinski decision

emphasized, the church autonomy doctrine exists precisely to prevent

“subjecting religious doctrine to discovery and, if necessary, jury trial.”

Id. at 570. Those goals cannot be served—and are, in fact, disserved—by

any understanding of the church autonomy doctrine that allows

discovery based on a claim of pretext.

      Amici thus agree with Moody that, to avoid the entanglement that

will necessarily follow if Garrick is allowed to challenge Moody’s religious

decision, this Court should conclude that it has jurisdiction to review this

crucial issue and reverse the decision below.

II.   Religious Schools Will Suffer If Courts Fail to Treat the
      Church Autonomy Doctrine as a Bar to Suit.

      The harms that would flow to religious organizations—and

particularly to religious colleges and universities—if the decision below

stands would be immediate and widespread.




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     A.    In the United States, There Are Hundreds of Religious
           Schools, Colleges, and Universities with Employees
           Critical to Their Religious Missions.

     Religious schools and colleges are everywhere in the United States,

and they have been from the nation’s founding. Indeed, higher education

in this country was built on a tradition of developing faith and intellect

together. And that tradition would be seriously compromised if plaintiffs

challenging the decision of a religious college were allowed to evade the

church autonomy doctrine merely by pleading pretext.

     1.    The first U.S. colleges reflected this integrated approach to

faith and intellect—an approach that would be seriously threatened by a

ruling against Moody here. Harvard University’s original mission

statement, for example, declared that the “end of [a student’s] life and

studies” is “to know God and Jesus Christ, which is eternal life[,]” 5 and

for centuries, its motto proclaimed In Christi Gloriam, a Latin phrase

meaning “For the glory of Christ.” 6 Harvard was not alone—“[a]most all




  5 Roger Schultz, Christianity and the American University, Liberty J.

(Feb. 26, 2019), https://www.liberty.edu/journal/article/christianity-and-
the-american-university/.
  6 Corydon Ireland, Seal of Approval, The Harvard Gazette (May 14,

2015), https://news.harvard.edu/gazette/story/2015/05/seal-of-approval/.
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Ivy League institutions had similar beginnings” and “shared common

commitments to the authority of the Word of God, the Gospel of Jesus

Christ, and the need for a Christian influence in society.” 7

     To be sure, some schools, including Harvard, have departed from

their founding religious ties. But many have not. And many of those

schools that have maintained their religious affiliations do what they

have always done: strengthen their students’ intellectual capacity while

also instructing them in their various faith traditions. As the Supreme

Court has recognized, the “raison d'être” of such religious schools is the

“propagation of a religious faith.” Cath. Bishop, 440 U.S. at 503 (citation

omitted); accord Our Lady of Guadalupe, 140 S. Ct. at 2055 (“The

religious education and formation of students is the very reason for the

existence of most private religious schools, and therefore the selection

and supervision of the teachers upon whom the schools rely to do this

work lie at the core of their mission.”).

     These schools’ religious missions are often integrated with other

aspects of learning, such as intellectual and professional preparation. For

example, Olivet Nazarene University—one of the many expressly


  7 See Schultz, note 4 supra.


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religious schools in the Seventh Circuit, is “a place where the integration

of faith and learning is sought” and where “students learn to live in

harmony with God and others.” 8 Another Seventh Circuit school,

Greenville University, provides its students a “transforming Christ-

centered education” that “empowers students for lives of character and

service.” 9

        Amicus Wheaton College, in suburban Chicago, is a paradigmatic

example of this integration of higher education and religious mission. 10

It promotes “a legacy of faculty, coaches, residence life leaders, chaplains,

and staff who exemplify spiritual journeys grounded in the truth and

grace of the gospel.” 11 Wheaton understands those officials to be

“integral” not only to its “Christ-centered liberal arts education,” but also

to its “evangelical witness.” 12 And through their efforts, Wheaton is able



   8 Olivet  Nazarene Univ., Lifestyle Covenant, https://www.olivet.edu
/lifestyle-covenant#:~:text=Mission%20Statement&text=The%20missio
n%20of%20Olivet%20is,harmony%20with%20God%20and%20others.
   9 Greenville Univ., Who We Are, https://www.greenville.edu/welcome.

   10Wheaton’s prominently displays this motto on its campus: “For
Christ and His Kingdom.”
   11 Wheaton Coll., Spiritual Life, https://www.wheaton.edu/life-at-whe

aton/spiritual-life/.
   12 Id.


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to “invite the entire Wheaton community into a shared rule of life,

creating space for [all] to be formed in [a] love for God, love for the

Church, and love for the world.” 13 All of these employees are critical to

Wheaton’s religious mission because, for Wheaton as for most religious

communities, a “little yeast works through the whole batch of dough.” 14

       Schools with similar missions are located around the country. For

example, Brigham Young University’s mission “is to assist individuals in

their quest for perfection and eternal life[,]” 15 and “the common purpose

of all education at BYU” is “to build testimonies of the restored gospel of

Jesus Christ.” 16 Amicus Liberty University “develops Christ-centered

men and women with the values, knowledge, and skills essential to

impact the world.” 17 And amicus Biola University’s mission is “biblically

centered education, scholarship and service—equipping men and women




  13 Id.

  14 Galatians 5:9 (New International Version).

  15 Brigham  Young Univ., BYU Mission Statement, https://aims.byu.
edu/byu-mission-statement.
  16 Brigham Young Univ., Aims of a BYU Education, https://aims.byu.

edu/aims-of-a-byu-education.
  17  Liberty Univ., Educational Philosophy and Mission Statement,
https://www.liberty.edu/about/purpose-and-mission-statement/.
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in mind and character to impact the world for the Lord Jesus Christ.” 18

Similarly, Zaytuna College strives to create “leaders who are grounded

in the Islamic scholarly tradition” by “educat[ing] and prepar[ing]

morally committed professional, intellectual, and spiritual leaders.” 19

Baylor University seeks to prepare its students “for worldwide leadership

and   service    by    integrating   academic     excellence     and   Christian

commitment within a caring community.” 20 And Yeshiva University’s

educational endeavors are “[r]ooted in Jewish thought and tradition” and

are “dedicated to advancing the moral and material betterment of the

Jewish community and broader society, in the service of God.” 21 Put

simply, religious schools, with religious missions, are everywhere.

      2.   Often, the inherently religious goals of these schools can be

achieved only if they can rely on their employees to further the schools’

faith-based missions. As Judge Ho explained in a recent church-

autonomy case, for religious institutions, “personnel is policy.” McRaney


  18 Biola Univ., Mission Vision and Values, https://www.biola.edu/ab

out/mission.
  19 Zaytuna Coll., Our Mission, https://zaytuna.edu/#mission.

  20 Baylor Univ., About Baylor, https://www.baylor.edu/about/.

  21 Yeshiva Univ., About Yeshiva College, https://www.yu.edu/yeshiva-

college/about.
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v. N. Am. Mission Bd. of S. Baptist Convention, Inc., 980 F.3d 1066, 1067

(5th Cir. 2020) (Ho, J., dissent from denial of rehearing en banc)

(emphasis in original). It requires no stretch of the imagination to see

how an employee like Ms. Garrick could harm a religious organization’s

mission if she were to advocate beliefs contrary to the school’s own. See

Garrick II, 494 F. Supp. 3d at 573 (explaining that, although Moody Bible

Institute “subscribes” to one doctrine, Garrick rejected that doctrine).

      At religious schools, then, employees can be expected to help

express and teach the faith by mentoring students. At most religious

schools, employees—regardless of their status—are expected to be guided

in these activities by the school’s spiritual principles and beliefs. As

already noted, at amicus Wheaton, the “faculty, coaches, residence life

leaders, chaplains, and staff” are all expected to “exemplify spiritual

journeys grounded in the truth and grace of the gospel.” 22 As a professor

at one religious college explained, “even when students come in for help

with an assignment, they are being mentored as Christian thinkers.” 23


   22 Wheaton Coll., Spiritual Life, https://www.wheaton.edu/life-at-whe

aton/spiritual-life/.
   23 Alan
         Noble, A Professor’s Perspective: Why Christian Colleges
Emphasize Mentorship, Creative Studio: Christianity Today

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He was correct—faculty members of all stripes play a special role in

expressing and teaching what it means to be both a scholar and a member

of that school’s faith.

        Faculty members at religious institutions are also generally

expected to help students apply religious principles in their academic and

other life decisions. At Biola, for example, the University proclaims that

“truth exists, is found in the person of Jesus Christ,” and “must be

pursued,” and thus all Biola faculty are expected to “teach and model this

pursuit in order to develop in our students patterns of thought that are

rigorous, intellectually coherent and thoroughly biblical.” 24 At BYU, each

faculty member is charged “to teach every subject with the [Holy] Spirit”

and to “keep [the] subject matter bathed in the light and color of the

restored gospel,” with a shared desire to “seek learning, even by study

and also by faith.” 25 And Liberty recognizes that “[e]ducation as the

process of teaching and learning involves the whole person,” and thus “it



(Jan. 25, 2018), https://www.christianitytoday.com/partners/higher-educ
ation/professors-perspective-mentorship.html.
   24Biola Univ., Mission, Vision and Values, https://www.biola.edu/
about/mission.
   25 Brigham Young Univ., Aims of a BYU Education, https://aims.byu.

edu/aims-of-a-byu-education.
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occurs most effectively when both instructor and student are properly

related to God and each other through Christ.” 26

       Given the direct and critical role that faculty members and other

staff at religious colleges play in furthering their religious missions,

religious institutions must be able to depend on such personnel to help

achieve those missions. Indeed, the Supreme Court has already

recognized this interest, emphasizing that religious organizations need

“autonomy with respect to internal management decisions that are

essential to the institution’s central mission.” Our Lady of Guadelupe,

140 S. Ct. at 2060.

       B.   Those Religious Schools Are Often the Targets of
            Litigation Brought by Their Employees.

       Many religious schools also face baseless claims brought by their

employees. For example, just last year, this Court considered a case

brought against a private Catholic school in Indianapolis that declined to

renew the contract of a supervisory guidance counselor. Starkey v.

Roman Cath. Archdiocese of Indianapolis, Inc., 41 F.4th 931 (7th Cir.

2022). The counselor was responsible, among other things, for conveying


  26  Liberty Univ., Educational Philosophy and Mission Statement,
https://www.liberty.edu/about/purpose-and-mission-statement/.
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the Catholic faith to students by leading prayers, teaching “Catholic

traditions,” “participat[ing] in religious instruction and Catholic

formation, including Christian services,” and “modeling a Christ-

centered life.” Id. at 937–938. This Court properly affirmed that the

claims were barred by the ministerial exception—but only after the

school needed to go all the way to an appeal. The harms of that delay

were compounded as other plaintiffs too sued the same religious

community. While these issues were being decided, a different case

against the same archdiocese went to the Indiana Supreme Court. Payne-

Elliott v. Roman Cath. Archdiocese of Indianapolis, Inc., 193 N.E.3d

1009, 1011 (Ind. 2022). And just last month, this Court resolved another

case against the same school brought by a different employee. Fitzgerald

v. Roncalli High Sch., Inc., 73 F.4th 529, 533–34 (7th Cir. 2023).

     Such cases brought by employees against their employers are

commonplace and costly. For example, in Butler v. Saint Stanislaus

Kostka Catholic Academy, three years after an ex-employee sued her

former employer, a Catholic school, the court held that the school was

entitled to summary judgment under the church autonomy doctrine,

whether or not the ministerial exception applied. 609 F. Supp. 3d 184,


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204 (2022). In another case, a court applied the ministerial exception

subset of the church autonomy doctrine to grant summary judgment

against claims brought by a former BYU employee who trained

missionaries at the Missionary Training Center of The Church of Jesus

Christ of Latter-day Saints. Markowski v. Brigham Young Univ., 575 F.

Supp. 3d 1377, 1380–83 (D. Utah 2022). And, in Kirby v. Lexington

Theological Seminary, the Kentucky Supreme Court had no problem

recognizing that the ministerial exception precluded certain claims

brought by a tenured seminary professor who—among other things—

“participated in chapel services, convocations, faculty retreats, and other

religious events,” “preached on numerous occasions,” and “read scripture

and served at the communion table.” 426 S.W.3d 597, 612 (Ky. 2014).

     There have been many more cases brought against religious schools

where the school eventually prevailed because of the structural

protections of the church autonomy doctrine.27 But this small subset




  27 See, e.g., Grussgott, 882 F.3d at 662; EEOC v. Cath. Univ. of Am., 83

F.3d 455, 470 (D.C. Cir. 1996); Petruska, 462 F.3d at 312; Clapper v.
Chesapeake Conf. of Seventh-Day Adventists, 166 F.3d 1208 (4th Cir.
1998) (per curiam and unpublished); Temple Emanuel of Newton v. Mass.
Comm’n Against Discrimination, 975 N.E.2d 433, 487 (Mass. 2012).
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suffices to show that there is no lack of litigants willing to bring non-

meritorious claims against their religious-school employers.

     C.    The Resulting Litigation Costs and the Specter of
           Government Entanglement Not Only Threaten
           Religious Schools’ Financial Viability, But Also Chill
           the Exercise of Those Schools’ Right to Religious
           Autonomy.

     For many religious schools, the costs of defending against even

meritless claims could be too expensive to bear—particularly if they are

forced to proceed all the way through discovery and trial.

     1.    The cost of defending an employment suit imposes significant

burdens on schools. EEOC investigations alone take an average of 10

months. 28 Even a meritless lawsuit can cost $100,000 or more in

attorneys’ fees, and a case that makes it to trial can cost hundreds of

thousands or even millions. 29 If the case is appealed, costs will naturally

be even higher.




  28 EEOC, What You Can Expect After You File a Charge, https://www.

eeoc.gov/what-you-can-expect-after-you-file-charge (last visited Jul. 31,
2023).
  29 Michael Orey, Fear of Firing: How the Threat of Litigation is Making

Companies Skittish About Axing Problem Workers, Bus. Wk. 52, 54 (Apr.
23, 2007).
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       Faced with the likelihood that they will never recover costs incurred

defending against even meritless lawsuits, many religious schools may

feel coerced to settle. After all, many small religious schools are

struggling to keep their doors open as it is. 30 Few have a sizable

endowment—if they have one at all. 31 And those without an endowment

may face additional issues with funding, as around 25 percent of all

religious congregations in the United States had less than $100,000 in

income from all sources in 2017 and 61 percent reported less than

$250,000. 32

       For those schools and the congregations that support them, the

intangible harms from having to divert to litigation resources that they

would otherwise use to fulfill their religious obligations to their students

and religious communities would be devastating. If the church autonomy

doctrine allows an employee to needlessly prolong a case by claiming




  30  See Bobby Ross, Jr., Closing Doors: Small Religious Colleges
Struggle for Survival, Religion N. Serv. (Nov. 20, 2017), https://religion
news.com/2017/11/20/closing-doors-small-religious-colleges-struggle-for-
survival/.
  31 Ibid.

  32 See David P. King et al., Nat’l Study of Congregations’ Econ.
Practices, Lake Inst. on Faith & Giving, 11 (2017).
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pretext, then such schools will have to face the expensive process of

gathering documents, producing affidavits, attending depositions,

testifying in court, and the like. 33 Given those pecuniary costs—and the

First Amendment harms stemming from the fact that discovery and

depositions in these cases can bring deeply religious activities and

decisions “under invasive examination,” Demkovich, 3 F.4th at 983—

religious schools will be unfairly pressured to settle. In just one such

recent case, Gordon College settled a suit brought by a professor who

advocated against the school’s religious policies regarding sexuality after

the Massachusetts Supreme Court refused to apply the church autonomy

doctrine. 34 Such court-imposed pressure to violate one’s religious beliefs

is itself a substantial burden on religion. See, e.g., Thomas, 450 U.S. at

716.

       2.   Still other schools will have their religious rights directly

chilled by the decision below. Again, the qualified-immunity analogy is



  33 See  generally Philip J. Moss, The Cost                    of   Employment
Discrimination Claims, 28 Me. Bar J. 24 (2013).
  34 Daniel Silliman, Gordon College Settles with Professor It Said Was

a Minister, Christianity Today (Dec. 16, 2022), https://www.christianity
today.com/news/2022/march/scotus-ministerial-exception-college-
gordon-deweese-boyd.html.
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apt. The Supreme Court has explained that one reason that doctrine

offers immunity to government officials is to prevent the “fear of personal

monetary liability and harassing litigation” from “unduly inhibit[ing]

officials in the discharge of their duties.” Anderson v. Creighton, 483 U.S.

635, 638 (1987).

     Similarly, affirmance of the decision below would inhibit religious

organizations in this Circuit from performing their duties and fulfilling

their missions. For example, religious organizations that otherwise

would not voluntarily produce information about their internal religious

deliberations about an employee would be pressured not to have those

deliberations at all. Such a decision could even result in a religious

school’s allowing a nonbelieving teacher or other employee to continue

rejecting the school’s religious tenets or flouting the school’s religious

standards, simply to avoid litigation. See, e.g., Rayburn, 772 F.2d at 1171

(“There is the danger that churches, wary of EEOC or judicial review of

their decisions, might make them with an eye to avoiding litigation or

bureaucratic entanglement rather than upon the basis of their own

personal and doctrinal assessments of who would best serve the pastoral

needs of their members.”); accord Cath. Univ. of Am., 83 F.3d at 467


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(acknowledging that the “prospect of future investigations and litigation

would inevitably affect to some degree the criteria by which future

vacancies in the ecclesiastical faculties would be filled”). And it is only

“early in litigation” that courts can avoid the “excessive entanglement in

church matters” that produces that chilling effect. Bryce, 289 F.3d at 654

n.1. Postponing application of the church autonomy doctrine and

allowing the case to proceed to trial thus “defeats the purpose” of the

doctrine. Konchar v. Pins, 989 N.W.2d 150, 166 (Iowa 2023) (Waterman,

J., concurring).

     The facts here provide ample reason to fear this outcome. As Moody

explains (at 7), Ms. Garrick actively and openly rejected its teachings

about the propriety of women holding the position of pastor. If Moody had

known that its religious discussions would be open to judicial scrutiny, it

may not have ever engaged in the discussions necessary to ensure fidelity

to those beliefs—the discussions that ultimately led to Ms. Garrick’s

termination. And, if Moody had been pressured not to take those steps,

its religious mission would have been impaired by an employee publicly

second-guessing Moody’s spiritual beliefs in front of the very students

that Moody seeks to instruct in the faith.


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     Properly understood, the church autonomy doctrine prevents these

harms. As Justice Brennan once wrote, the very “prospect of government

intrusion raises concern that a religious organization may be chilled in

its free exercise activity.” Corp. of Presiding Bishop of Church of Jesus

Christ of Latter-day Saints v. Amos, 483 U.S. 327, 343 (1987) (Brennan,

J., concurring in judgment). Indeed, one of the main justifications for

recognizing the protections guaranteed by the Religion Clauses is to

prevent the “coercive effect” of litigation from producing “the very

opposite of that separation of church and State contemplated by the First

Amendment.” McClure v. Salvation Army, 460 F.2d 553, 560 (5th Cir.

1972). The church autonomy doctrine—like the ministerial exception—

should thus be understood to prevent any government action that would

chill any religious exercise or that would pressure religious organizations

to act contrary to their deeply held beliefs—including in cases in which a

plaintiff claims pretext.

                             CONCLUSION

     The district court erred by allowing plaintiff’s claim to survive a

motion to dismiss. That decision denies Moody’s its ability to timely

exercise its constitutional rights. If not corrected, that precedent will


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harm not only Moody, but all religious schools in the Seventh Circuit.

This Court should find that it has jurisdiction over this appeal and

reverse the decision below.

Dated: August 7, 2023                 Respectfully submitted,

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                       STATEMENTS OF INTEREST

Biola University (Biola), located in Southern California, is a fully
accredited national University carrying on a tradition of educational
excellence that dates back over 100 years. Biola’s mission is to provide
biblically centered education, scholarship, and service—equipping men
and women in mind and character to influence the world for the Lord
Jesus Christ. Biola’s commitment to academic excellence is firmly rooted
in its adherence to an in-depth, knowledgeable, and living Christian
faith. Each year, over 5,300 students find Biola’s unique blend of faith
and learning conducive to their academic and vocational goals.
Liberty University (Liberty) is a distinctively Christian institution of
higher education in Lynchburg, Virginia. Liberty maintains the vision of
its founder, Dr. Jerry Falwell, by developing Christ-centered men and
women with the values, knowledge, and skills essential for impacting
tomorrow’s world. With its residential and online programs offering more
than 600 programs that enroll more than 100,000, Liberty is one of the
nation’s largest private, nonprofit universities.
Wheaton College is a Christian, academically rigorous, fully residential
liberal arts college and graduate school located in Wheaton, Illinois.
Established in 1860, Wheaton’s educational mission is to build the church
and benefit society worldwide through excellence in whole-person
education. Wheaton seeks to relate Christian liberal arts education to the
needs of contemporary society—to combine faith and learning to produce
a biblical perspective needed to relate Christian experience to the
demands of those needs. To live out that whole-person education,
Wheaton asks all students and employees to both profess a personal faith
in Jesus Christ and agree to be bound by the moral standards expressed
in its Community Covenant, which sets forth how community members
are expected to live out our collective Christian commitments.




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                  CERTIFICATE OF COMPLIANCE

     In accordance with Federal Rule of Appellate Procedure 32(g)(1)

and Circuit Rule 32, I certify that this brief:

     (i) complies with the type-volume limitation of Fed. R. App. P.

32(a)(7)(B) and Circuit Rule 29 and the Clerk’s instructions because it

contains 6520 words, including footnotes and excluding the parts of the

brief exempted by Rule 32(f), as determined by the word counting feature

of Microsoft Office; and

     (ii) complies with the typeface requirements of Fed. R. App. P.

32(a)(5) and the type-style requirements of Fed. R. App. P. 32(a)(6) and

Circuit Rule 32 because it has been prepared using Microsoft Word 365,

set in Century Schoolbook font in a size measuring 12 points or larger.

Dated: August 7, 2023

                                      /s/ Gene C. Schaerr
                                      Gene C. Schaerr




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                      CERTIFICATE OF SERVICE

     I certify that on August 7, 2023, the foregoing Brief of Amici Curiae

was electronically filed with the Clerk of the Court for the United States

Court of Appeals for the Seventh Circuit by using the court’s CM/ECF

system. All participants in the case are registered CM/ECF users and will

be served electronically via that system.

Dated: August 7, 2023

                                       /s/ Gene C. Schaerr
                                       Gene C. Schaerr




                                      II
